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  5                           UNITED STATES DISTRICT COURT

  6                           EASTERN DISTRICT OF VIRGINIA

  7
      Alexander Otis Matthews, Plaintiff                Case No. I:14cv207-L0-MSN
  8
      V.                                                 MOTION TO DISMISS FOR LACK
  9                                                     OF SUBJECT MATTER
      Estrategia Investimentos, S.A.                    JURISDICTION AND LACK OF
 10
      Bruce H. Haglund, and                             PERSONAL JURISDICTION
 11   Wilson, Haglund & Paulsen

 12

 13         Defendants, Bruce H. Haglund ("Haglund") and Wilson, Haglund &
 14   Paulsen ("WHP") (collectively the "Defendants") hereby make a limited
 15   appearance for the purpose of contesting subject matter and personal jurisdiction
 16   only and move for an order pursuant to Federal Rules of Civil Procedure Rule
 17   12(b)(1) and (2) dismissing the Alias Amended Complaint (the "Complaint") filed
 18   against the Defendants by Alexander Otis Matthews (tiie "Plaintiff").
 19         This Motion is supported by the following Memorandum of Points and
 20   Authorities and all pleadings on file with the Court, all of which are hereby
 21   incorporated by reference.
 22                    MEMORANDUM OF POINTS AND AUTHORITIES

 23   L     RELEVANT FACTS; INTRODUCTION

 24         The Plaintiffhas failed to plead any factsindicating that the Court has subject
 25   matter jurisdiction or personal jurisdiction over the Defendants. In paragraph 2 of
 26   the Complaint, Plaintiff alleges that he "brings this suit in his personal capacity as
 27   President and CEO of American Investments Real Estate Corporation" and in
 28   paragraph 9 that "American Investments Real Estate Corporation [AIREC] was a
                                                     -1-
                              Motion to Dismiss for Lack of Personal Jurisdiction
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  1   corporation in good standing in Virginia that was in the business of ... reselling]
  2   investment grade bonds." Thereafter, Plaintiff alleges that AIREC was injured by
  3   the alleged actions of Defendants.
  4         Plaintiff also alleges in Paragraph 3 of the Complaint that the "events in this
  5   suit occurred between 6/1/2010 and 11/15/2010 in the state of Virginia."
  6   Nevertheless, this allegation is false in that none of the events related to the
  7   Defendants' alleged actions occurred in the state of Virginia.
  8         Haglund was at all relevant times a resident of Irvine, California and not
  9   conducting any business in the state of Virginia.
 10         WHP,which was dissolved in May 2012, was at all relevant times a California
 11   corporation with its principal place of business in Irvine, California and not
 12   conducting any business in Virginia.
 13         A.J. Berrones and Associates, LLC ("Berrones") had its principal place of
 14   business in Merced, California and was not conducting any business in Virginia.
 15         Green Energy Capital Corp. ("Energy") was at all relevant times a Delaware
 16   corporation, registered as a foreign corporation in Alabama, and for purposes of the
 17   Escrow Agreement dated October 18,2010, attached to the Complaint as Appendix
 18   A (the "Escrow Agreement"), listed its address in Montgomery, Alabama.
 19         Notwithstanding the Plaintiffs allegation in Paragraph 20 of tiie Complaint
 20   that "AIREC and Energy hired defendant attorney Bruce H. Haglund and the law
 21   firm of Wilson, Haglund and Paulsen to conduct the transaction and to act as the
 22   escrow agent," Haglund was engaged by Berrones to act as the Escrow Attorney
 23   pursuant to the terms of the Escrow Agreement and neither the Plaintiff nor
 24   American Investments Real Estate Corporation ("AIREC") were parties to the
 25   Escrow Agreement by and among Haglund, Berrones, and Energy. At no time did
 26   the Plaintiffor AIREC engage Haglund or WHP nor did the Plaintiffor AIREC have
 27   any contact with Haglund or WHP.
 28         None of the eventsrelated to the Escrow Agreement took place in Virginia.
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                             Motion to Dismiss for Lack of Personal Jurisdiction
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  1         The Plaintiff fails to plead any facts pertaining to personal jurisdiction over
  2   Haglund or WHP. Accordingly, the Court should dismiss the case against the
  3   Defendants,

  4   11.   LEGAL STANDARD FOR SUBJECT MATTER JURISDICTION
  5         Federal Rule of Civil Procedure, Rule 12(b)(1) allows a defendant to move to
  6   dismiss for lack of subject matter jurisdiction. Because Article Ill's "standing" and
  1   "ripeness" requirements limit subject matter jurisdiction, they are properly
  8   challenged by a Rule 12(b)(1) motion to dismiss. Chandler v. StateFarm Mut. Auto.
  9   Ins. Co. (9th Cir. 2010) 598 F3d 1115, 1122; Stalley ex rel. United States v. Orlando
 10   Regional Healthcare System, Inc. (11th Cir. 2008) 524F3d 1229,1232; Apex Digital Inc.
 11   V. Sears, Roebuck & Co. (7th Cir. 2009) 572 F3d 440, 443. Plaintiff, as the party
 12   invoking federal jurisdiction, bears the burden of establishing that he or she
 13   suffered an injury in fact traceable to defendant's conduct that is redressable by a
 14   favorable decision. Spokeo. Inc. v. Robins (2016) US . . 136 S.Ct. 1540.1547.
 15         To establish "a case or controversy" within the meaning of Article III,plaintiff
 16   must show the following as an "irreducible minimum": An "injury in fact" that is
 17   concrete and particularized, actual or imminent, and not hypothetical or
 18   conjectural; a causal connection between the injury and defendant's conduct or
 19   omissions; and a likelihood that the injury will be redressed by a favorable
 20   decision. Spokeo. supra      US at          . 136 S.Ct. at 1547: Lujan v. Defenders of
 21   WUdlife (1992) 504 US 555.560-561.112 S.Ct. 2130.2136. In addition, the claim must
 22   relate to plaintiffs oim legal rights and interests, rather than the legal rights or
 23   interests of third parties. Elk Grove Unified School Dist. v. Newdow (2004) 542 US 1.
 24   14.124 S.Ct. 2301. 2310 (abrogated on other grounds by Lexmark Int% Inc. v. Static
 25   Control Components, Inc. (2014) 572 US               134 S.Ct. 1377.1386-1387. Superior MRI
 26   Services. Inc. v. Alliance Healthcare Services. Inc. (5th Cir. 2015) 778 F3d 502. 504.506

 27   [a party must assert its own right to sue].
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                              Motion to Dismiss for Lack of Personal Jurisdiction
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  1   III.   THE PLAINTIFF FAILS TO AND CANNOT REASONABLY PLEAD ANY

  2          ALLEGATIONS REGARDING THE COURT'S SUBJECT MATTER
  3          JURISDICTION.
  4          For each of the claims set forth in the Complaint, Plaintiff, an individual,
  5   seeks relief on behalf of AIREC, a corporation. Plaintiff alleges that AIREC bought
  6   an option to purchase a bond that it then sought to sell. Complaint, ^[19-14. To
  7   facilitate die sale of the bond. Plaintiff alleges that AIREC hired Defendants to act
  8   as escrow agent for the sale. Complaint, H15-20. Plaintiff alleges that Defendants
  9   acted negligently in allowing AIREC's funds to leave the escrow without
 10   confirming the completed transaction. Complaint, f^21-31. As a result. Plaintiff
 11   alleges that "AIREC thus lost the money it had been pa5dng as a call option-fee to
 12   reserve the bond for the prior six months, as well as its portion of the profits to be
 13   made on the sale, which was US13 million." Complaint, M32.
 14          While these allegations may or may not plead standing on behalf of AIREC,
 15   they do not amount to a personal claimon behalf of Plaintiff, an individual. As such.
 16   Plaintiff has not and cannot truthfully allege a claim for which he has standing to
 17   sue. Without this standing, tihe Court lacks subject matter jurisdiction and the
 18   Complaint should be dismissed pursuant to Rule 12(b)(1).
 19   IV.    LEGAL STANDARD FOR PERSONAL JURISDICTION.
 20          Federal Rule of Civil Procedure, Rule 12(b)(2) allows a defendant to move to
 21   dismiss for lack of personal jurisdiction. To avoid dismissal under Rule 12(b)(2), a
 22   plaintiff bears the burden of demonstrating that its allegations establish a prima
 23   facie case for personal jurisdiction. See Boschetto v. Hansing, 539 F.3d 1011, 1015
 24   (9th Cir.2008). "When no federal statute governs personal jurisdiction, the district
 25   court applies the law of the forum state." Id. at 1015. Where a state has a "long-
 26   arm" statute providing its courts jurisdiction to the fullest extent permitted by the
 27   due process clause, as Virginia does, a court need only address federal due process
 28   standards. Id.
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                             Motion to Dismiss for Lack of Personal Jurisdiction
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   1         An assertion of personal jurisdiction must comport with due process. See
  2    Wash. Shoe Co. v. A-Z Sporting Goods Inc., 704 F.3d 668, 672 (9th Cir. 2012). Two
  3    categories of personal jurisdiction exist: (1) general jurisdiction; and (2) specific
  4    jurisdiction. See Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 413-
  5    15 (1984); see also LSI Indus., Inc. v. Hubbell Lighting, Inc., 232 F.3d 1369,1375 (Fed.
  6    Cir. 2000).
  7          General jurisdiction arises where a defendant has continuous and systematic
  8 ties with iiie forum, even if those ties are unrelated to the litigation. See Tuazon v.
  9    R.]. Reynolds Tobacco Co., 433 F.3d 1163, 1171 (9th Cir. 2006) (citing Helicopteros
 10 Nacionales de Columbia, S.A., 466 U.S. at 414-16). "[T]he plaintiff must demonstrate
 11    llie defendant has sufficient contacts to constitute the kind of continuous and

 12    systematic general business contacts that approximate physical presence." In re W.
 13    States Wholesale Nat. Gas Litig., 605 F. Supp. 2d 1118,1131 (D. Nev. 2009) (internal
 14    quotation marks and citations omitted). In other words, defendant's affiliations
 15 with the forum state must be so "continuous and systematic" as to render it
 16    essentially "at home" in that forum. See Daimler AG v. Bauman, 134 S. Ct. 746,760-
 17    61 (2014).
 18         Specificjurisdiction arises where sufficient contacts with the forum state exist
 19 such that the assertion of personal jurisdiction"does not offend'traditional notions
 20 of fair play and substantial justice.' " Int'l Shoe Co. v. State of Wash.. Ojfice of
 21    Unemployment Comp. & Placement. 326 U.S. 310,316,66 S. Ct. 154,157 (1945)
 22 In the Fourth Circuit, the plaintiff must show "(1) the defendant has created a
 23    substantial connection to the forum state by action purposefully directed toward
 24 the forum state or otherwise invoking the benefits and protections of the laws of
 25 the state; and (2) the exercise of jurisdiction based on those minimum contacts
 26 would not offend traditional notions offairplay and substantial justice, takinginto
 27    account such factors as (a) the burden on the defendant, (b) the interests of the
 28 forum state, (c) the plaintiffs interest in obtaining relief, (d) the efficient resolution
                                                     -5-
                              Motion to Dismiss for Lack of Personal Jurisdiction
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  1    of controversies as between states, and (e) the shared interests of the several states
  2    in furthering fundamental substantive social policies." Lesnick v. Hollingsworth &
  3    Vose Co,, 35 F.3d 939,945-46 (4th Cir. 1994).]
  4   V.    THE PLAINTIFF FAILS TO AND CANNOT REASONABLY PLEAD ANY

  5         ALLEGATIONS REGARDING THE COURT'S GENERAL PERSONAL

  6         JURISDICTION OVER THE DEFENDANTS.
  7         The Plaintiff has not and cannot truthfully allege that the Court has
  8   general personal jurisdiction over the Defendants. None of the Defendants reside
  9   in Virginia, has ever had any offices in Virginia, has ever owned any property in
 10   Virginia, has ever had any employees or agents in Virginia, or has ever conducted
 11   any business in Virginia. See Declaration of Bruce H. Haglund (the "Haglund
 12   Declaration") attached to this Motion. Accordingly, the Defendants certainly
 13   cannot be considered "at home" in Virginia.
 14   VL    THE PLAINTIFF FAILS TO AND CANNOT REASONABLY PLEAD ANY

 15         ALLEGATIONS REGARDING THE COURT'S SPECIFIC PERSONAL

 16         JURISDICTION OVER THE DEFENDANTS.
 17         Again, as discussed above, the Plaintiff fails to plead any factual allegations
 18   related to the Court's personal jurisdiction over the Defendants. Instead, the
 19   Plaintiff acknowledges in his complaint that the Defendants reside and/or were
 20   located in California. Moreover, the Defendants have no contacts, much less the
 21   required "minimum contacts," with the state of Virginia in relation to any of the
 22   transactions relating to the Escrow Agreement.
 23         Within the specific jurisdiction analysis, a plaintiff must establish that the
 24   defendant purposefully availed himself of the forum. Lesnick, supra, at 945-46.
 25   Here, Plaintiffs scant allegations are untruthful.
 26         As demonstrated by the testimony submitted concurrently in the Haglund
 27   Declaration, none of the events related to the Defendants' alleged actions occurred
 28

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                              Motion to Dismiss for Lack of Personal Jurisdiction
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  1   in the state of Virginia. Haglund DecL 112-11 and 14 and Declaration of AJ.
  2   Berrones (the "BerronesDeclaration") H2-4 and 6.
  3          Plaintiff was not a party to the Escrow Agreement that is central to the
  4   complaint. Haglund Decl. H13 and Berrones Declaration 5-6.
  5          Accordingly, the Court must conclude that the Plaintiff has failed to and
  6   cannot reasonably meet hisburdenofdemonstrating thathis allegations establish a
  7   prima facie case for personal jurisdiction.
  8   VII.   CONCLUSION

  9        For these reasons, the Defendants respectfully request that theCourt enteran
 10   order dismissing the Complaint against the Defendants for lack of personal
 11   jurisdiction and granting such other and further relief as the court finds reasonable
 12   and necessary.
 13   DATED: August 28,2017
                                                              UCEH.HAGL
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                             Motion to Dismiss for Lack ofPersonal Jurisdiction
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  5                           UNITED STATES DISTRICT COURT

  6                            EASTERN DISTRICT OF VIRGINIA

  7
      Alexander Otis Matthews, Plaintiff                 Case No. I:14cv207-L0-MSN
  8
      V.                                                 DECLARATION OF BRUCE H.
  9                                                      HAGLUND IN SUPPORT OF
      Estrategia Investimentos, S.A.                     MOTION TO DISMISS FOR LACK
 10
      Bruce H. Haglund, and                              OF SUBJECT MATTER
 11   Wilson, Haglund & Paulsen                          JURISDICTION AND LACK OF
                                                         PERSONAL JURISDICTION
 12

 13                          DECLARATION OF BRUCE H. HAGLUND

 14         I, BRUCE H. HAGLUND, declare the following under penalty of perjury for
 15   the laws of the United States of America:

 16         1.      I submit this declaration is support of the Motion to Dismiss for Lack
 17   of Subject Matter Jurisdiction and Lack of Personal Jurisdiction filed by Bruce H.
 18   Haglund and Wilson, Haglund & Paulsen (the "Defendants") in connection with
 19   the above-captioned Complaint (the "Complaint").
 20         2.      I am a resident of Irvine, California, where I have lived continuously
 21   since 1979.

 22         3.      Wilson, Haglund & Paulsen ("WHP") was a law firm doing business
 23   in Irvine, California from March 2006 until May 2012. At no time did WHP
 24   maintain an office, have employees, employ agents, or conduct business in
 25   Virginia.
 26         4.      I have never worked in Virginia.
 27         5.      Neither I nor WHP own or have ever owned any property in Virginia.
 28   /////
                                                      -1-
                              Motion tx) Dismiss for Lack of Personal Jurisdiction
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   1          6.      Neither I nor WHP conduct or have conducted any regular business
  2    in Virginia.
  3           7.      Neither I nor WHP transacted any business in Virginia related to this
  4    lawsuit and/or the underlying transactions related thereto.
  5           8.      Neither I norWHP have ever had any bank accounts in Virginia.
  6          9.       Neither I nor WHP have ever had an office in Virginia.
  7          10.      Neither I nor WHP have ever appointed or employed an agent in
  8    Virginia.
  9          11.      Neither I nor WHP haveeverhad any employees in Virginia.
 10          12.      In October 2010, I was retained by A.J. BERONNES AND
 11    ASSOCIATES, LLC, of Merced, California ("Berrones LLC") to prepare an Escrow
 12    Agreement for a transaction to be entered into by Berrones LLC and GREEN
 13    ENERGY CAPITAL CORP., a Delaware corporation registered as a foreign
 14    corporation in Alabama ("Energy"), and in my individual capacity to act as an
 15    escrow agent.
 16          13.      On or about October 18,2010,1 prepared and entered into that certain
 17    Escrow Agreement by and among Energy, Berrones LLC, and myself as Escrow
 18    Agent. A true and correct copy of the Escrow Agreement is attached hereto as
 19    Exhibit "A." TERRY HESTER ("Hester") executed ilie Escrow Agreement in his
 20    capacity as President of Energy and A.J. BERRONES ("Berrones") executed the
 21    Escrow Agreement in his capacity as Manager of Berrones LLC. The Plaintiff was
 22    not a party to the Escrow Agreement.
 23          13.      The Escrow Agreement, at Hester's direction, listed Energy's address
 24    at 6767 Taylor Circle, Montgomery, Alabama 36117.
 25          14.      None of the events related to the Escrow Agreement took place in
 26    Virginia.
 27          15.      At no time did I enter into a retainer agreement with Energy or
 28    Hester orhave any oral discussions oragreement with Energy or Hester regarding
                                                       -2-
                                Motion to Dismiss for Lack of Personal Jurisdiction
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   1   tiieir or anyone else's engagement of me as his or its counsel in connection any
   2   transaction related to the subject matter of the Escrow Agreement; my only
   3   contractual relationship with Energy or Hester was in connection with the Escrow
   4   Agreement.
   5         16.    I had no contact with AMERICAN INVESTMENTS REAL ESTATE

   6   CORPORATION ("AIREC") or ALEXANDER OTIS MATTHEWS (the "Plaintiff")
   7   in connection with the Escrow Agreement or otherwise. At no time did I enter
   8   into a retainer agreement with AIREC or the Plaintiff or have any oral discussions
   9   or oral agreement with AIREC or the Plaintiff regarding their or anyone else's
 10    engagement of me as his or its counsel in connection any transaction related to the
 11    subject matter of the Escrow Agreement or any other matter.
 12

 13          I hereby declare under penalty of perjury under the laws of the United
 14    States of America that the foregoing is true and correct.
 15

 16    DATED: August 28,2017
                                                  BRUCE H. HAGL
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                              Motion to Dismiss for Lack ofPersonal Jurisdiction
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     5                           UNITED STATES DISTRICT COURT

     6                           EASTERN DISTRICT OF VIRGINIA

     7
         Alexander Otis Matthews, Plaintiff                 Case No. I:14cv207-L0-MSN
     8
         V.                                                 DECLARATION OF AJ. BERRONES
     9                                                      IN SUPPORT OF MOTION TO
         Estrategia Investimentos, S.A.                     DISMISS FOR LACK
    10   Bruce H. Haglimd, and                              OF SUBJECT MATTER
    11   Wilson, Haglxmd & Paulsen                          JURISDICTION AND LACK OF
                                                            PERSONAL JURISDICTION
    12

    13                               DECLARATION OF A.L BERRONES

    14         I, A.J. BERRONES, declare the following under penalty of perjury for the laws
    15   of the United States of America:

    16         1.     I submit this declaration is support of llie Motion to Dismiss for Lack
    17   of Subject Matter Jurisdiction and Lack of Personal Jurisdiction filed by Bruce H.
    18   Haglund and Wilson, Haglimd & Patdsen (the "Defendants") in connection with
    19   the above-captioned Complaint (the "Complaint").
    20         2.     I am a resident of Merced, California, where I have lived continuously
    21   since 1987. At no time relevant to the subjectmatter of the Complaint was I present
    22   or doing business in Virginia.
    23         3.     A.J. BERRONES AND ASSOCIATES, LLC was a Delaware limited

    24   liability company ("BerronesLLC"), organized on August 27,2009 with an office in
    25   Merced, California. At no time relevant to the subjectmatter of the Complaint did
    26   Berrones LLC maintain an office, have employees, employ agents, or conduct
    27   business in Virginia.
    28
                                                        -1-
                                 Motion to Dismiss for Lack of Personal Jurisdiction
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            1         4. In October 2010, Berrones LLC retained Haglund to prepare an Escrow
         2       Agreement for a transaction to be entered into by Berrones LLC and GREEN
         3       ENERGY CAPITAL CORP., a Delaware corporation registered as a foreign
         4       corporation in Alabama ("Energy").
         5             5. On October 18, 2010, as the manager of Berrones LLC, I signed that
         6      certain Escrow Agreement by and among Energy, Berrones LLC, and Haglund as
         7      Escrow Agent. Atrue and correct copy ofthe Escrow Agreement is attached hereto
         8      as Exhibit "A." TERRY HESTER signed the Escrow Agreement in his capacity as
        9       President of Energy.
    10                6.     At no time was Berrones LLC doing business with AMERICAN
    11          INVESTMENTS REAL ESTATE CORPORATION ("AIREC") or ALEXANDER
    12          OTIS MATTHEWS (the "Plaintiff")-
    13

    14                Ihereby declare under penalty of perjury under the laws of the Urrited States
    15          of America that the foregoing istrue and correct.
    16

    17          DATED: August 28,2017
    18                                                   /fi]. BERRONES
    19

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                                       Motion to Dismiss forLack of Personal Jurisdiction
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                                       CERTIFICATE OF SERVICE


 The undersigned hereby certifies that a true copy of the foregoing
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 (dMO                                                              fqKgN>.r.Ko4M?' _,wa^iailed
 this (2)                   Day of(3) Kv>6U6r ^ii)t^                               to (4) Actg)C»t«aOee.
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                                                                          (Your Signature) \

                                                    Instructions


          YOU must send a copy of every motion, pleading or document to the defendant(s) or counsel for
 defendant(s). If you do not send a copy to the defendant(s) or coimselfor the defendant(s), the court will not be
 able to consider your document.

         You must prepare and submit one certificate ofservice for EACH motion, pleading, or document you
 wish to have considered by the court.

 Complete each blank as directed:

 (1) Describe the document you are submitting to the courtand sending to the defendant(s). (Remember: you
 should attach a Certificate of Service to eachmotion, pleading, or document youwishto haveconsidered by the
 court.)

 (2) Day of the monththat you givethe document to officials for mailing to the defendant(s) or counsel for the
 defendants(s).

 (3) Month and year.

 (4) Name of person(s) to whom you are sending a copyof the document. If you sendit directly to the
 defendant(s), list eachdefendant to whom you senda copy. If you sendit to coimsel for the defendant(s), list only
 the name(s) of counsel.

 (5) Address(es) that copy is being mailed to.

 NOTE: YOU MUST SIGN THIS FORM. Thecourt willnot accept thisform without an original signature.
